JARVIS, McARTHUR
& WILLIAMS
ATTORNEYS AT LAW
SUITE 2E ~ PARK PLAZA
95 ST. PAUL STREET
P.O. BOX 902
BURLINGTON, VT
05402-0902
802-658-3411

 

 

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UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF VERMONT

 

UNITED STATES OF AMERICA,

v. Criminal No. 5:19-CR-00076-GWC

ARIEL QUIROS, WILLIAM KELLY,
WILLIAM STENGER,

Defendants

CATALOG OF MATERIAL PRODUCED BY THE STATE OF VERMONT
MARKED “PRIVILEGED” OR “CONFIDENTIAL”

As noted in Defendant Stenger’s Preliminary Response to the Motions to Quash
the subpoenas served on the State of Vermont and Locke Lord, the State of Vermont
provided a host of documents marked “privileged” and “confidential” to federal
investigators reviewing Jay Peak’s EB-5 projects. These materials fall into the following
four general categories: (1) email communications between an exclusive group of top
state officials! charged with overseeing the EB-5 projects; (2) the analysis of data related

to those projects by state regulators; (3) Weekly Reports submitted by Vermont

 

' These officials include Governor Peter Shumlin, ACCD Secretary Patricia Moulton,
DFR Commissioner Susan Donegan, Governor Shumlin’s Chief of Staff Elizabeth Miller,
Governor Shumlin’s Legal Counsel Sarah London, ACCD General Counsel John Kessler,
DFR General Counsel David Cassetty, DFR Deputy Commissioner Michael Pieciak,
Vermont Regional Center Director Brent Raymond, Deputy Attorney General Suzanne
Young, Assistant Attorney General Jacob Humbert, Governor Shumlin’s Chief of Staff
Darren Springer, Chief Assistant Attorney General Bill Griffin, Assistant Attorney
General Jon Alexander, Scott Coriell, Vermont Regional Center Director Eugene Fullam,
ACCD Commissioner Lawrence Miller, Susan Allen, and Assistant Attorney General
Megan Shafritz.

 
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department commissioners and agency secretaries to the governor’s office; and, (4) the
State’s preparation for, and response to, Jay Peak litigation in state and federal courts.

1. State email communications

In October 2015, Assistant Attorney General Jon Alexander notified state officials
that documents related to Jay Peak’s EB-5 projects had to be retained under what state
officials referred to as a “litigation hold notice.” The litigation hold notice itself is clearly
marked “CONFIDENTIAL ATTORNEY-CLIENT PRIVILEGED ATTORNEY WORK
PRODUCT.” Ex. 1.

To date, defense counsel has located and identified the following email
communications marked “privileged” or “confidential” and are arranged in chronological
order as Exhibit 2:

B. Raymond to J. Kessler and P. Moulton, 10/31/14

J. Kessler to S. London, 11/17/14

E. Miller to P. Moulton and S. London, 11/28/14

J. Kessler to P. Moulton, B. Raymond, and J. Humbert, 12/18/14

J. Kessler to S. Donegan, D. Cassetty, P. Moulton, B. Raymond, E. Miller,
and S. London, 2/3/15

S. London to P. Moulton, 2/11/15 and J. Humbert to J. Kessler, S. Young,
and P. Moulton, 2/11/15

J. Kessler to P. Moulton, S. London, and J. Humbert, 2/23/15

S. Donegan to E. Miller, 3/1/15

S. Donegan to E. Miller and S. London, 3/6/15

S. Donegan to E. Miller, 3/8/15

E. Miller to S. Donegan, 4/3/15

S. Donegan to E. Miller, 4/6/15

J. Kessler to J. Humbert and S. London, 4/9/15

S. Donegan to E. Miller and S. London, 4/11/15

E. Miller to S. Donegan and S. London, 4/26/15

D. Springer to S. London, 11/24/15

S. London to D. Springer and P. Moulton to D. Cassetty, M. Pieciak, S.
Donegan, S. London, B. Griffin, S. Young, and J. Kessler, 12/7/15

S. London to EXE, 4/8/16 and J. Alexander to S. London, 10/9/15

P. Moulton to S. Donegan, S. Coriell, S. London, and B. Griffin, 4/11/16
S. London to D. Springer and S. Coriell, 4/19/16

 
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S. London to EXE, 5/3/16

E. Fullam to M. Pieciak and P. Moulton, 7/20/16

D. Springer to S. London and S. Allen, 7/25/16

P. Moulton to S. London, M. Pieciak, and J. Kessler, 7/25/16

S. London to D. Springer, S. Allen, and L. Miller, 7/25/16

S. London to GPS (Governor Peter Shumlin) and M. Shafritz to S. London,
7/28/16

P. Moulton to S. London and B. Griffin, 8/26/16

S. London to D. Springer and 8. Allen, 8/29/16

2. Analysis of data by State regulators

To date, defense counsel has located and identified the following DFR reports

marked “privileged” and are submitted as Exhibit 3:

DFR Project overview, 32 pages (undated)

DFR Project Overview, Raymond James Activity, Co-Mingling of Funds
(undated)

QBurke Mountain Resort, Overview of Evidence, (undated)

DFR Project Overview of Jay Peak Ownership, 19 pages (undated)

DFR Project Overview, Analysis of Funds (undated)

DFR Project Overview, 136 pages (undated)

DFR Overview of Ariel Quiros’s family and business ties with South Korea
(undated)

3. Weekly Reports to Governor Shumlin

To date, defense counsel has located and identified the following Weekly Reports

addressing the State’s oversight of Jay Peak’s EB-5 projects that are marked “privileged.”

Those reports are arranged in chronological order as Exhibit 4:

July 13, 2014
August 2, 2014
August 24, 2014
August 31, 2014
September 27, 2014
October 12, 2014
November 23, 2014
December 12, 2014
December 19, 2014
January 25, 2015
February 6, 2015

 
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e February 13, 2015
e October 10, 2015

4. The State’s Preparation for, and Response to, Jay Peak litigation in State
and Federal courts

To date, defense counsel has located and identified the following documents,
some of which are marked “privileged,” that relate to the state legal strategies and are
arranged in chronological order as Exhibit 5:

D. Donegan, Discussion Document, 4/11/1(5?)
QBurke Project, DFR, 4/13/15

S. Donegan to D. Cassetty, 6/22/1(5?)

S. London to L. Miller, 10/9/15

D. Cassetty to S. London, 10/16/15, Draft Complaint
S. London to L. Miller, 10/27/15

S. Donegan to 8S. London, 4/7/16, Revised Complaint
J. Alexander, Second Request for preservation of documents, 5/3/16
M. Pieciak to S. London, 6/15/16

S. London to Governor Shumlin, 7/28/16

M. Pieciak to S. London, 9/1/16

 
